  Case 19-14213       Doc 31   Filed 01/23/20 Entered 01/24/20 08:10:03               Desc Main
                                 Document      Page 1 of 1
                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                      Eastern Division

In Re:                                        )                BK No.:     19-14213
John Krichbaum                                )
                                              )                Chapter: 13
                                              )
                                                               Honorable Timothy Barnes
                                              )
                                              )
               Debtor(s)                      )

                        ORDER SUSTAINING OBJECTION TO CLAIM 9-2

        This matter coming to be heard on the Debtor's objection, this court having jurisdiction and due
notice having been given, this court orders that the objection is sustained as set forth herein and claim 9-
2, of BMW Bank of North America, is allowed, but only as a general unsecured claim in the amount of
$1,504.18.




                                                            Enter:


                                                                     Timothy A. Barnes
Dated: January 23, 2020                                              United States Bankruptcy Judge

 Prepared by:
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